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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MARYLAND
                                      NORTHERN DIVISION


    In the Matter of the Petition

                               Of
                                                                Docket No. 24-cv-000941-JKB
    GRACE OCEAN PRIVATE LIMITED,
    as Owner of the M/V DALI,                                   IN ADMIRALTY

                              And

    SYNERGY MARINE PTE LTD, as
    Manager of the M/V DALI,

    for Exoneration from or Limitation of
    Liability


                       STIPULATED ORDER REGARDING DISCOVERY
                       OF ELECTRONICALLY STORED INFORMATION

           Petitioners and certain Claimants (individually, a “Party,” and collectively, the

“Parties”)1 in the above-captioned action, by and through their undersigned counsel,

hereby stipulate and agree to this Protocol Regarding Discovery of Electronically Stored

Information (the “Stipulated Order” or “ESI Protocol”).

           1.       PURPOSE AND SCOPE

           This Stipulated Order will govern discovery of electronically stored information

(“ESI”) in this case as a supplement to the Federal Rules of Civil Procedure, the District of

Maryland’s Local Rules, and any other applicable orders and rules. Except as expressly



1
    The Cargo Claimants, while not currently signatories, have not asserted an objection to the Stipulated Order.


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provided, nothing herein shall alter the Parties’ respective rights or obligations under the

Federal Rules of Civil Procedure. Nothing in this Stipulated Order establishes any

agreement regarding the subject matter or scope of discovery in this action, or the relevance

or admissibility of any ESI or other document or thing. Except as provided expressly

herein, the parties do not waive any objections as to the production, discoverability,

authenticity, admissibility, or confidentiality of documents and ESI. Nothing in this

Stipulated Order shall be interpreted to require disclosure of irrelevant information or ESI

protected from discovery by the attorney-client privilege, work product doctrine, or any

other applicable privilege or immunity.

       2.     COOPERATION

       The Parties commit to cooperate in good faith throughout the matter. No Party may

seek relief from the Court concerning compliance with the Stipulated Order unless it has

conferred in good faith with the affected Parties.

       3.     DEFINITIONS

       “Documents” is defined to be synonymous in meaning and equal in scope to the

usage of the term in Rule 34(a) of the Federal Rules of Civil Procedure and includes ESI

existing in any medium from which information can be translated into a reasonably usable

form, including but not limited to any writing, book, record, or other item conveying

information, whether maintained on paper, electronically, or any other material; any

communication, including all email messages, electronic calendars, electronic calendar

invitations, text messages, messages sent through messaging platforms, voice recordings,

voicemail or audio messages, social media posts or communications, and handwritten or

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mailed correspondence, including all records or documents in custodial files; any and all

drafts of records or documents; any photograph, whether maintained on paper, film, or

digitally; and any other material having on it representations of thoughts conveyed by

letters, symbols, drawings, or other marks. “Document,” as used herein, shall be construed

expansively to include all possible forms. The term “Document(s)” shall include Hard

Copy Documents, Electronic Documents, and Electronically Stored Information (ESI) as

defined herein.

       “Named Custodians” means the individual custodians to be identified by the Parties

for whom discoverable Documents are most likely to exist.

       “Electronically Stored Information” or “ESI,” as used herein, means information

that is stored electronically as files, documents, or other data on computers, servers, mobile

devices, online repositories, disks, USB drives, tape or other real or virtualized devices or

digital media.

       “Load File” means an electronic file containing information identifying a set of

paper-scanned images and/or processed ESI and indicating where individual pages or files

belong together as Documents, including attachments, and where each Document begins

and ends. A Load File will also contain certain data relevant to the individual Documents,

including, where reasonable and possible, extracted and user created Metadata, coded data,

and OCR or Extracted Text, as specified herein and in Attachment A.

       “Metadata” means information about information or data about data, and includes

without limitation (1) information embedded in a Native File that is not ordinarily viewable

or printable from the application that generated, edited, or modified such Native File; and

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(2) information generated automatically by the operation of a computer or other

information technology system when a Native File is created, modified, transmitted,

deleted or otherwise manipulated by a user of such system. Except as otherwise provided

herein, this Stipulated Order does not create a duty on a Party to create Metadata that is not

kept in the ordinary course (excluding production-related Metadata, such as Bates

numbers) and reasonably captured and produced.

       “Native File” means ESI in the file type for (or of) the application in which such

ESI is normally created, viewed and/or modified.

       “OCR” means the optical character recognition file which is created by software

used in conjunction with a scanner that is capable of reading text-based Documents and

making such Documents searchable using appropriate software.

       4.     THE COLLECTION AND CULLING OF ESI:

       A.     Named Custodians, Non-Custodial ESI, and ESI Search Methodology

       In the attached Attachment B, Petitioners identify the named Custodians and

centralized data sources (i.e., non-custodial ESI) from which Petitioners are collecting ESI

for production in the Action.

       In the attached Attachment C, Claimants identify the named Custodians and

centralized data sources (i.e., non-custodial ESI) from which they are collecting ESI for

production in the Action.

       Should any Party dispute the selection of named Custodians, the Parties will work

in good faith to identify, discuss, agree upon and revise, if necessary, the named Custodians

and sources of non-custodial ESI to avoid an unduly burdensome production or retrieving

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a large quantity of non-responsive ESI. In addition, the Parties will work in good faith to

agree on the use of reasonable search terms, file types, and date ranges, along with any

other relevant search parameters from any source that is disputed per the above.

       A document that is captured by application of any agreed-upon search terms, or

otherwise, does not mean that such document is necessarily responsive to any propounded

discovery request or is otherwise relevant to this litigation or any required disclosure. The

fact that a document may have been retrieved by application of agreed upon search terms,

or otherwise, shall not prevent any Party from withholding from production such document

for lack of responsiveness or privilege, if applicable.

       B.     Collection of ESI

       Each Party shall make a reasonable and diligent effort to search for and collect

reasonably accessible and responsive (1) Custodial Documents from named Custodians

and (2) ESI from the agreed-to sources of non-custodial ESI.

       C.     Other Methods to Streamline Culling of ESI

       Documents may be de-duplicated globally (i.e. across multiple custodians) provided

that the producing Party identifies the additional custodians in the CustodiansAll field

specified in Attachment A. Duplicates shall be identified by industry standard hash values

or other comparable automated process only. Any other methodology for identification of

duplicates must be discussed with the receiving Party and approved before implementation.

       A.     To reduce the volume of entirely duplicative content within email threads,

the Parties may, but are not required to, use email threading. A party may use industry

standard message threading technology to remove email messages where the content of

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those messages, and any attachments, are wholly contained within a later email message in

the thread (also referred to as “inclusive” email messages).

       The Parties may not use e-mail thread suppression where any part of the thread is

withheld or redacted on the basis of attorney-client privilege, attorney work product, or any

similar basis for withholding or redacting Documents or ESI.

       5.     PRODUCTION FORMATS

       The Parties shall produce Documents and ESI in reasonably usable form. Except as

otherwise provided herein (e.g., Section 7 regarding Native Files), or as agreed hereafter

by the Parties, such reasonably usable form shall be the single-page TIFF-image format

with extracted text (or OCR text if, and only if, extracted text is unavailable) and the

associated Metadata set out in Attachment A (to the extent available and reasonable to

collect and produce). If particular Documents warrant a different format, the Parties will

cooperate to arrange for the mutually-acceptable production of such Documents.

       A.     Production Media

       The production media for Document productions shall be by secure FTP link

provided via email or another format and mode of transport mutually agreeable to the

Parties. Each item of production media shall be labelled in a consistent and logical manner

to inform the receiving Party of its contents.

       B.     TIFFs

       All production images will be provided as black and white single page Group IV

TIFFs of at least 300 dpi resolution (except for documents requiring a different resolution

or page size); for production of color images, see Section 5.G. Each image will use the

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Bates number of the first page of the Document as its unique file name. Original Document

orientation should be maintained (i.e., portrait to portrait and landscape to landscape).

Hidden content, tracked changes or edits, comments, notes, and other similar information

viewable within the Native File shall also be imaged so that this information is captured on

the produced image file. The TIFF files shall be grouped into folders; there shall not be a

separate folder created for each document.

       C.     Text Files

       Each Document or ESI item produced under this Stipulated Order shall be

accompanied by a text file. All text files shall be provided as a single Document level text

file for each item, not one text file per page. Each text file shall be named using the Bates

number of the first page of the corresponding production item. The full path of the text file

must be provided in the Load File. Text files themselves should not be delivered in the

Load File.

       Where feasible, all Documents and ESI will be accompanied by extracted text,

rather than OCR. Paper or other non-ESI Documents may be accompanied by an OCR file

if extracted text is unavailable. The Parties will endeavor to generate accurate OCR and

will utilize quality OCR processes and technology. OCR text files should indicate page

breaks where possible. Emails and other ESI will be accompanied by extracted text taken

from the ESI item itself. The Parties agree not to degrade the searchability of text extracted

from ESI or produced via OCR.

       To the extent that a Document or ESI is redacted, the text file should not contain the

text of the redacted portions.

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       D.     Bates Numbering

       All images must be assigned a Bates number that must always: (1) be unique across

the entire production; (2) maintain a constant length (0-padded) across the entire

production; (3) contain no special characters or embedded spaces; and (4) be sequential

within a given Document. Bates numbers should be a combination of an alpha prefix along

with a number (e.g., ABC00000001). The number of digits in the numeric portion of the

Bates number format should not change in subsequent productions.

       Bates numbers should generally be assigned sequentially as Documents are

processed. If a Bates number or set of Bates numbers is skipped in a production, the

producing Party will so note in a cover letter or production log accompanying the

production.

       The producing Party will brand each TIFF image in the lower right-hand corner with

its corresponding Bates number, using a consistent font type and size. The Parties must use

best efforts to apply Bates numbers so as not to obscure any part of the underlying image.

If the placement in the lower right-hand corner will result in obscuring the underlying

image, the Bates number should be placed as near to that position as possible while using

best efforts to preserve the underlying image.

       E.     Parent-Child Relationships

       Parent-child relationships between Documents that have been maintained in the

ordinary course of business should be preserved. For example, if a Party is producing an e-

mail with its attachments, the attachments should be processed in order behind the e-mail,

except attachments withheld on privilege grounds, which will be indicated on the

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associated privilege log and the withheld attachment will be replaced with a slip sheet

stating “Document withheld for privilege.”

       F.     Load Files

       All production items will be provided with a Load File. Acceptable formats for the

Image Load File are .opt and .dat (Opticon cross reference file and Concordance load file).

Acceptable formats for metadata load files are concordance delimited .dat. The Load File

must reference each file (whether in TIFF or Native File format) in the corresponding

production. Metadata for a given Metadata field shall be produced with uniform formatting

across different Documents and productions to the extent practicable.

       Load File names should contain the volume name of the production media.

Additional descriptive information may be provided after the volume name. For example,

both ABC001.dat or ABCOOl_metadata.dat would be acceptable.

       G.     Color

       Documents or ESI containing color need not be produced initially in color.

However, if an original Document or ESI item contains color markings or highlighting and

it is necessary to see those markings or highlighting in their original color to understand

the meaning or content of the Document, then the receiving Party may, in good faith,

request that the Document or ESI item be produced in its original colors. The Parties

reserve the right to request these files in an alternative format (either in color TIFF or .jpg

format), though there is no presumed requirement for a Party to produce “color for color”

across all of its delivered documents.




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       H.     Confidentiality Designations

       If a particular Document or ESI item qualifies for confidential treatment pursuant

to the terms of the protective order entered by the Court in this litigation, or has been

redacted in accordance with applicable law or Court order, the appropriate confidentiality

designation shall be shown both on the face of all TIFFs pertaining to such item/Document,

and in the appropriate data field in the Load File.

       6.     PRODUCTION OF PAPER DOCUMENTS

       The Parties agree that responsive paper (or other non-ESI) Documents will be

scanned and produced electronically rather than in paper format. The form of production

for scanned Documents shall be: (1) TIFF images, consistent with the specifications in

Section 5.B; (2) the appropriate Load Files consistent with the specifications below; and

(3) searchable OCR text of scanned Documents created by the producing Party, consistent

with the specifications in Section 5.C.

       The following information (as further described in Attachment A) shall be produced

in the Load File accompanying production of all paper (or other non-ESI) Documents: (1)

BegBates, (2) EndBates, (3) BegAttach, (4) EndAttach, (5) Custodian.

       7.     PRODUCTION OF ESI

       A.     Metadata Fields and Processing

       Attachment A sets forth the minimum Metadata fields that must be produced, but

only to the extent that Metadata exists and can be reasonably retrieved. Except as otherwise

set forth below, to the extent that Metadata does not exist, is not reasonably accessible or




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available, or would be unduly burdensome to collect, nothing in this Stipulated Order shall

require any Party to extract, capture, collect, or produce such data.

       The Parties are not obligated to manually populate any of the fields in Attachment

A for an ESI item if such fields cannot be extracted from the ESI item using an automated

process, with the exception of the following fields: (1) BegBates, (2) EndBates, (3)

BegAttach, (4) EndAttach, (5) Custodian. These fields should be populated regardless of

whether the fields can be populated pursuant to an automated process.

       The Parties will use reasonable efforts and standard industry practices to address

and resolve exception issues for items that present processing, imaging or form of

production problems (including encrypted, corrupt and/or protected files identified during

the processing of ESI). The Parties will meet and confer regarding procedures that will be

used to identify, access, and process and resolve exception issues.

       For archive files (zip, jar, rar, gzip, TAR, etc.), all contents should be extracted from

the archive with source pathing and family relationships preserved and produced. The fully

unpacked archive container file does not need to be included in the production.

       B.     Production of Native File Items

       The following items of ESI shall be produced in Native File format: spreadsheet-

application files (e.g., MS Excel, Tab Separated Value (.tsv), Comma Separated Value

(.csv)), personal databases (e.g., MS Access), multimedia audio/visual files such as voice

and video recordings (e.g., .wav, .mpeg, and .avi) and presentation files and/or presentation

application files (e.g., MS PowerPoint), with any speaker notes and any other similar text



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produced with the presentation slides, unless redactions are made. For responsive database

data, please such data should be produced in a flat file, delimited ASCII format file. The

first line of the file should show the column headers for each filed of data included. The

producing Party should identify the delimiters used between fields, between entries within

a field, and for the end of record marker.

       In addition to producing the above file types in Native File format, the producing

Party shall produce a single-page TIFF slip sheet indicating that a Native File item was

produced and providing the file name of the natively produced document, as well as any

confidentiality designation. The corresponding Load File shall include the NativePath data

field for each Native File that is produced. Any electronic file produced in Native File

format shall be given a file name consisting of a unique Bates number, for example,

“ABC00000002.XLS.”

       Through the pendency of this case, the producing and receiving Party shall exercise

reasonable, good faith efforts to maintain all discoverable and/or preserved Native Files in

a manner that does not materially alter or modify the files or their Metadata.

       C.     Requests for Other Native Files

       If good cause exists – i.e. to decipher the meaning, context, or content of a document

produced in TIFF – for the receiving Party to request production of a certain Document in

native format, the receiving Party may request production in native format by providing a

list of the Bates numbers of Documents it requests to be produced in native format. The

producing Party will make reasonable, good-faith efforts to respond to reasonable requests

made in good faith for production of such Documents in native format.

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       D.     Redaction

       The Parties agree that where Documents or ESI need to be redacted, they shall be

produced in TIFF with each redaction clearly indicated. For any redacted Document or

ESI, any unaffected Metadata fields specified in Attachment A shall be provided, subject

to the conditions set forth in Section 7.A. “Metadata Fields and Processing.”

       If the items redacted and partially withheld from production are Excel-type

spreadsheets, and the Native Files are withheld, the entire ESI item must be produced in

TIFF format, including all unprivileged pages, hidden fields and other information that

does not print when opened as last saved by the custodian or end-user. For Excel-type

spreadsheets, this shall include, but is not limited to, hidden rows, columns, and

worksheets, as well as all cell values, annotations and notes. The producing Party shall

also make reasonable efforts to ensure that any spreadsheets produced only as TIFF images

are formatted so as to be legible. For example, column widths should be formatted so that

the numbers in the column will display rather than “##########.”

       ESI that does not render well (e.g., spreadsheets) or cannot be rendered in image

format (e.g., audio or video files) may be redacted and produced in native format.

       If the items redacted and partially withheld from production are audio/visual files,

the producing Party shall provide the unredacted portions of the content. The Parties shall

meet and confer regarding the appropriate form for production of any types of ESI not

specifically addressed herein.




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       E.     Technical Exceptions

       The Parties will use reasonable efforts and standard industry practices to address

and resolve exception issues for items that present processing, imaging or form of

production problems (including encrypted, corrupt and/or protected files identified during

the processing of ESI). The Parties will meet and confer regarding procedures that will be

used to identify, access, and process and resolve exception issues.

       F.     Not Reasonably Accessible and Unusable ESI

       If a producing Party asserts that certain ESI is not reasonably accessible due to

undue cost or burden or otherwise unnecessary under the circumstances, or if the receiving

Party asserts that, following production, certain ESI is not reasonably usable, the Parties

shall meet and confer before presenting the issue to the Court for resolution.

       G.     Irretrievable ESI

       If a Party believes that responsive, unique ESI no longer exists in its original format,

or is no longer retrievable, the Parties shall meet and confer to attempt to resolve the issue

expeditiously.

       H.     Compressed Files

       Compression file types (i.e., .CAB, .GZ, .TAR, .Z, .ZIP) shall be decompressed in

a reiterative manner resulting in individual folders and/or files in the lowest possible

compression, for example to ensure that a zip within a zip is fully decompressed into

individual non-zip files. Once decompressed into individual non-container files, the

compressed container file does not need to be produced. Compressed items should be

treated as compressed folders and not as compressed items.

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       8.     DOCUMENTS PROTECTED FROM DISCOVERY

       A.     No Waiver of Privilege or Protection

       The production of improperly marked confidential, privileged or work-product

protected ESI, whether inadvertent or otherwise, is not a waiver of the privilege or

protection from discovery in this case or in any other federal or state proceeding. This

provision shall be interpreted to provide the maximum protection allowed by Federal Rule

of Evidence 502(d). Accordingly, in assessing the validity of any claim of privilege or

protection, the Court shall not consider the provisions of Federal Rule of Evidence

502(b)(2).

       B.     Clawback Procedures

       Within a reasonable time after discovering that it inadvertently produced privileged

or work product protected documents or ESI (“Inadvertently Produced Material”), the

producing party shall send a written request to the receiving party requesting return of such

Inadvertently Produced Material.

       Within five (5) business days after receipt of a producing party’s written request,

the receiving party shall: (i) immediately return, delete or destroy such Inadvertently

Produced Material – as well as any portions of work product that reflect or are derived

from such Inadvertently Produced Material - and copies thereof; (ii) not make any use of

such Inadvertently Produced Material or work product; and (iii) upon request by the

producing party, confirm in writing that it has returned, deleted, or destroyed all such

Inadvertently Produced Material and any copies thereof. Absent a Court order, the




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receiving party shall not thereafter use such Inadvertently Produced Material for any

purpose.

       In the event that the producing party asserts privilege as to only a portion of an

inadvertently produced document or item, the receiving party shall not thereafter use the

Privileged Material in the redacted document or item for any purposes.

       If a receiving party knows that it has received privileged or work product protected

documents, it shall: (i) sequester such documents; (ii) refrain from using such documents

or any portions of work product that reflect or are derived from such documents; and (iii)

within five (5) business days, notify the producing party of the existence of such documents

in order to permit the producing party to take the protective measures set forth above.


       Nothing herein shall limit a receiving party’s right to challenge a producing party’s

assertion that documents are protected from disclosure by a privilege, protection or

immunity.


       9.     PRIVILEGE LOG

       For any responsive Document withheld in its entirety or produced but redacted, the

Producing Party shall supply a log of the documents withheld or redacted under a claim of

privilege and/or work product with sufficient information to allow the Receiving Party to

understand the basis for the claim. Communications involving trial counsel that post-date

the filing of the complaint need not be placed on a privilege log. The privilege log will

contain the following populated fields:




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       Document Identifier (e.g., Beg Bates Number [if redacted] or Control Number [if
       withheld])
       Group Identifier
       End Bates Number
       Date/Time
       Custodian
       From
       To
       CC
       Redacted/Withheld
       Privilege Asserted
       Privilege Description

       The Parties agree to meet and confer in good faith over the deadline for production

of privilege logs after they have ascertained the volume of potentially responsive

information.

       10.     COST OF DOCUMENT PRODUCTION

       Unless the Court orders otherwise, each Party shall bear the costs of preserving,

collecting, processing, reviewing, and producing its own documents and ESI, provided,

however, that a producing Party may move the Court for cost shifting for requests for ESI

that is unduly burdensome as to cost, and/or not reasonably accessible. Prior to incurring

expenses associated with obtaining ESI that is not reasonably accessible, or moving the

Court for cost shifting for requests for ESI that unduly burdensome as to cost and/or is not

reasonably accessible, the Parties shall meet and confer in an attempt to resolve the issue

in a cost-effective manner.

       11.     MEET AND CONFER

       The Parties agree to work together to resolve any ESI discovery conflict before

filing any type of discovery related motion. The Parties must make genuine efforts to meet

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and confer prior to filing a motion to compel even if there is no requirement to do so

otherwise. The agreement to meet and confer includes on any issues relating to this

Stipulated Order or the modification thereof.

      12.    CONSTRUCTION

      This Stipulated Order should be construed in light of any protective order previously

issued by the Court in this Action and any future confidentiality order agreed to by the

Parties. Ordinary construction principles will apply such that the ESI protocol and

protective order(s) should be read together as harmonious documents. If a conflict exists

between the ESI protocol and the protective order, then the ESI protocol will govern.


      13.    MODIFICATION

      This Stipulated Order may be modified by stipulation of the parties or by Court

Order for good cause shown.

      IT IS SO STIPULATED, through Counsel of Record.


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PURSUANT TO STIPULATION, IT IS SO ORDERED.


       July 7
Dated: ___________, 2025            ____________________________
                                    Timothy J. Sullivan
                                    United States Magistrate Judge




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                       Attachment A: Metadata Coding Fields

      The Metadata fields described below shall be populated for the indicated types of

documents, in accordance with terms of the foregoing Order.

“Email” means any email message.

“Edoc” means any item of ESI other than Email.

“All” means Email, Edocs, and scanned hard copy documents.


       Field Name            Description

       Beg Bates             The bates label of the first page of the document.

       End Bates             The bates label of the last page of the document.

       Beg_Attach            The bates label of the first page of a family of documents
                             (e.g., email and attachment).

       End Attach            The bates label of the last page of a family of documents.

       Custodian             The custodian in whose file the document was found.

       Time Zone             The time zone used to process the document.

       Sent Date             For email, the sent date of the message.

       Sent Time             For email, the sent time of the message.

       Create Date           Fore-files or attachments, the document’s creation date or
                             operating system creation date.

       Create Time           Fore-files or attachments, the document’s creation time or
                             operating system creation time.

       Modified Date         Fore-files or attachments, the document’s last modified
                             date or operating system last modified date.

       Modified Time         Fore-files or attachments, the document’s last modified
                             time or operation system last modified time.



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  Subject            The subject of an email or the filename of an attachment
                     or standalone e-file.

  File Name          The original file name of the native document.

  Author             The author of a stand-alone e-file or attachment.

  From               The sender of an email message.

  To                 The recipient(s) of an email message, in a semi-colon
                     delimited multi-value list.

  cc                 The copyee(s) of an email message, in a semi-colon
                     delimited multi-value list.

  BCC                The blind copyee(s) of an email message, in a semi-colon
                     delimited multi-value list.

  MD5 Hash

  Redacted           Indicate whether a document is redacted.

  Confidentiality    Confidentiality Designation

  TextLink

  NativeLink




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Attachment B: Petitioners’ Named Custodians and Sources of Non-Custodial ESI




                      [To be completed by Petitioners]




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  Attachment C: Claimants’ Named Custodians and Sources of Non-Custodial ESI




                          [To be completed by Claimants]




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